       Case 8:22-cv-01127 Document 1 Filed 06/07/22 Page 1 of 14 Page ID #:1



     Alan P. Block (SBN 143783)
1    ablock@mckoolsmith.com
2
     MCKOOL SMITH P.C.
     300 South Grand Avenue, Suite 2900
3    Los Angeles, California 90071
     Telephone: (213) 694-1200
4    Facsimile: (213) 694-1234
5    Timothy Devlin*
     DEVLIN LAW FIRM LLC
6    1526 Gilpin Avenue
     Wilmington, Delaware 19806
7    Telephone: (302) 449–9010
     Facsimile: (302) 353–4251
8
     David Sochia*
9    dsochia@McKoolSmith.com
10   Ashley N. Moore*
     amoore@McKoolSmith.com
11   Richard A. Kamprath*
     rkamprath@McKoolSmith.com
12   Alexandra Easley*
     aeasley@McKoolSmith.com
13   MCKOOL SMITH P.C.
     300 Crescent Court Suite 1500
14   Dallas, TX 75201
15   *Pro Hac Applications forthcoming
16
     Attorneys for Plaintiff
17   BELL SEMICONDUCTOR, LLC
18

19
                     IN THE UNITED STATES DISTRICT COURT
20                FOR THE CENTRAL DISTRICT OF CALIFORNIA
21

22
     BELL SEMICONDUCTOR, LLC                 Case No. 8:22-cv-1127
23
                      Plaintiff,             ORIGINAL COMPLAINT
24
          v.
25                                           JURY TRIAL DEMANDED
   WESTERN DIGITAL
26 TECHNOLOGIES, INC.

27                    Defendant.
28

                                     ORIGINAL COMPLAINT
       Case 8:22-cv-01127 Document 1 Filed 06/07/22 Page 2 of 14 Page ID #:2




 1         Plaintiff Bell Semiconductor, LLC (“Bell Semic” or “Plaintiff”) brings this
 2   Complaint against Defendant Western Digital Technologies, Inc. (“Western Digital”)
 3   for infringement of U.S. Patent No. 7,007,259 (“the ’259 patent”). Plaintiff, on personal
 4   knowledge of its own acts, and on information and belief as to all others based on
 5   investigation, alleges as follows:
 6                              SUMMARY OF THE ACTION
 7         1.     This is a patent infringement suit relating to Western Digital’s
 8   unauthorized and unlicensed use of the ʼ259 patent. The circuit design methodology
 9   claimed in the ʼ259 patent is used by Western Digital in the production of one or more
10   of its devices, including its WD Black SN 850 NVMe SSD.
11         2.     Semiconductor devices include different kinds of materials to function as
12   intended. For example, these devices typically include both metal (i.e., conductor) and
13   insulator materials, which are deposited or otherwise processed sequentially in layers
14   to form the final device. These layers—and the interconnects and components formed
15   within them—have gotten much smaller over time, increasing the performance of these
16   devices dramatically. As a result, it has become even more important to keep the layers
17   planar as the device is being built because defects and warpage can cause fabrication
18   issues and malfunctioning of the device. Manufacturers use a process called Chemical
19   Mechanical Planarization/Polishing (“CMP”) to smooth out the surface of the device
20   periodically between deposition and/or etching of each layer. This allows subsequent
21   layers to be built and connected more easily with fewer opportunities for short circuits
22   or other errors that render the device defective. CMP functions best when there is a
23   certain density and variance of the same material on the surface of the chip. This is
24   because different materials will be “polished” away at different rates, leading to erosion
25   or dishing on the surface. To reduce this problem “dummy” material, also known as
26   “dummy fill,” is typically inserted into low-density regions of the device to increase the
27   overall uniformity of the structures on the surface of the layer and reduce the density
28
                                                  1
                                          ORIGINAL COMPLAINT
       Case 8:22-cv-01127 Document 1 Filed 06/07/22 Page 3 of 14 Page ID #:3




 1   variability across the surface of the device. However, dummy fill can increase
 2   capacitance if it is placed too close to signal wires, which slows the transmission speed
 3   of signals and degrades the overall performance of the device.
 4         3.     Prior to development of the methodology described in the ʼ259 patent, the
 5   most widely implemented technology for insertion of dummy metal into a circuit design
 6   required hardcoding a large “stay–away” distance between the dummy metal and clock
 7   nets, which led to less space available for dummy metal insertion. This methodology
 8   often made it impossible to insert enough dummy metal to meet the required minimum
 9   density. The traditional dummy fill tools would often complete their run without
10   reaching the minimum density, thus requiring at least a second run of the tool for the
11   problem areas. In each problem area, the “stay-away” distance was reduced manually.
12   And if there was more than one problem area, the manufacturer would have to make
13   multiple runs of the tool, as it would have to address one problem area at a time. This
14   was an involved, iterative process that had the potential to negatively impact the
15   fabrication schedule and potentially the yield of the run, causing costs to go up.
16         4.     Vikram Shrowty and Santhanakrishnan Raman (“the Inventors”), the
17   inventors of the ʼ259 patent, understood the drawbacks of this “stay-away” design
18   process and set out to develop a more efficient method for inserting dummy metal into
19   a circuit design. The Inventors ultimately conceived of a dummy fill procedure that
20   minimizes the negative timing impact of dummy metal on clock nets, while still
21   achieving minimum density in a single run. The claimed invention begins by identifying
22   free spaces on each layer of the circuit design suitable for dummy metal insertion as
23   dummy regions. The dummy regions are then prioritized such that the dummy regions
24   located adjacent to clock nets are filled with dummy metal last, thereby minimizing any
25   timing impact on the clock nets.
26         5.     The inventions disclosed in the ’259 patent provide many advantages over
27   the prior art. In particular, they provide a simple and efficient method for dummy metal
28
                                                 2
                                        ORIGINAL COMPLAINT
       Case 8:22-cv-01127 Document 1 Filed 06/07/22 Page 4 of 14 Page ID #:4




 1   insertion that minimizes the timing impact to clock nets and at the same time guarantees
 2   reaching minimum density in a single pass. See Ex. A at 6:11–15. As mentioned above,
 3   the patented invention results in the dummy regions being prioritized such that the
 4   dummy regions located adjacent to clock nets are filled with dummy metal last, thereby
 5   minimizing the timing impact on the clock nets. See Ex. A at 2:29–47. Additionally,
 6   some embodiments of the patented invention further prioritize the dummy regions such
 7   that the dummy regions adjacent to wider clock nets are filled with dummy metal after
 8   dummy regions that are located adjacent to narrower clock nets. See Ex. A at 2:35–39.
 9   These significant advantages are achieved through the use of the patented inventions
10   and thus the ’259 patent presents significant commercial value for companies like
11   Western Digital.
12         6.     Bell Semic brings this action to put a stop to Western Digital’s
13   unauthorized and unlicensed use of the inventions claimed in the ʼ259 patent.
14                                      THE PARTIES
15         7.     Plaintiff Bell Semic is a limited liability company organized under the
16   laws of the State of Delaware with a place of business at One West Broad Street, Suite
17   901, Bethlehem, PA 18018.
18         8.     Bell Semic stems from a long pedigree that began at Bell Labs. Bell Labs
19   sprung out of the Bell System as a research and development laboratory, and eventually
20   became known as one of America’s greatest technology incubators. Bell Labs
21   employees invented the transistor in 1947 in Murray Hill, New Jersey. It was widely
22   considered one of the most important technological breakthroughs of the time, earning
23   the inventors the Nobel Prize in Physics. Bell Labs made the first commercial
24   transistors at a plant in Allentown, Pennsylvania. For decades, Bell Labs licensed its
25   transistor patents to companies throughout the world, creating a technological boom
26   that led to the use of transistors in the semiconductor devices prevalent in most
27   electronic devices today.
28
                                                3
                                       ORIGINAL COMPLAINT
       Case 8:22-cv-01127 Document 1 Filed 06/07/22 Page 5 of 14 Page ID #:5




 1         9.     Bell Semic, a successor to Bell Labs’ pioneering efforts, owns over 1,900
 2   worldwide patents and applications, approximately 1,500 of which are active United
 3   States patents. This patent portfolio of semiconductor–related inventions was
 4   developed over many years by some of the world’s leading semiconductor companies,
 5   including Bell Labs, Lucent Technologies, Agere Systems, and LSI Logic and LSI
 6   Corporation (“LSI”). This portfolio reflects technology that underlies many important
 7   innovations in the development of semiconductors and integrated circuits for high–tech
 8   products, including smartphones, computers, wearables, digital signal processors, IoT
 9   devices, automobiles, broadband carrier access, switches, network processors, and
10   wireless connectors.
11         10.    The principals of Bell Semic all worked at Bell Labs’ Allentown facility,
12   and have continued the rich tradition of innovating, licensing, and helping the industry
13   at large since those early days at Bell Labs. For example, Bell Semic’s CTO was a LSI
14   Fellow and Broadcom Fellow. He is known throughout the world as an innovator with
15   more than 300 patents to his name, and he has a sterling reputation for helping
16   semiconductor fabs improve their efficiency. Bell Semic’s CEO took a brief hiatus from
17   the semiconductor world to work with Nortel Networks in the telecom industry during
18   its bankruptcy. His efforts saved the pensions of tens of thousands of Nortel retirees
19   and employees. In addition, several Bell Semic executives previously served as
20   engineers at many of these companies and were personally involved in creating the
21   ideas claimed throughout Bell Semic’s extensive patent portfolio.
22         11.    On information and belief, Western Digital has its principal place of
23   business and headquarters at 5601 Great Oaks Parkway, San Jose, California 95119.
24   On information and belief, Western Digital develops, designs, and/or manufactures
25   products in the United States, including in this District, according to the ʼ259 patented
26   process/methodology; and/or uses the ʼ259 patented process/methodology in the United
27   States, including in this District, to make products; and/or distributes, markets, sells, or
28
                                                  4
                                        ORIGINAL COMPLAINT
       Case 8:22-cv-01127 Document 1 Filed 06/07/22 Page 6 of 14 Page ID #:6




 1   offers to sell in the United States and/or imports products into the United States,
 2   including in this District, that were manufactured or otherwise produced using the
 3   patented process. Additionally, Western Digital introduces those products into the
 4   stream of commerce knowing that they will be sold and/or used in this District and
 5   elsewhere in the United States.
 6                                  JURISDICTION AND VENUE
 7            12.      This is an action for patent infringement arising under the Patent Laws of
 8   the United States, Title 35 of the United States Code. Accordingly, this Court has
 9   subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).
10            13.      This Court has personal jurisdiction over Western Digital under the laws
11   of the State of California, due at least to its substantial business in California and in this
12   District. Western Digital has purposefully and voluntarily availed itself of the privileges
13   of conducting business in the United States, in the State of California, and in this
14   District by continuously and systematically placing goods into the stream of commerce
15   through an established distribution channel with the expectation that they will be
16   purchased by consumers in this District. In the State of California and in this District,
17   Western Digital, directly or through intermediaries: (i) performs at least a portion of the
18   infringements alleged herein; (ii) develops, designs, and/or manufactures products
19   according to the ʼ259 patented process/methodology; (iii) distributes, markets, sells, or
20   offers to sell products formed according to the ʼ259 patented process/methodology;
21   and/or     (iv)     imports    products   formed    according    to   the   ʼ259    patented
22   process/methodology.
23            14.      On information and belief, venue is proper in this Court pursuant to 28
24   U.S.C. §§ 1391 and 1400 because Western Digital has committed, and continues to
25   commit, acts of infringement in this District and has a regular and established place of
26   business in this District. For example, Western Digital maintains a regular and
27

28
                                                     5
                                           ORIGINAL COMPLAINT
       Case 8:22-cv-01127 Document 1 Filed 06/07/22 Page 7 of 14 Page ID #:7




 1   established place of business in the District at 3355 Michelson Drive, Suite 100, Irvine,
 2   CA 92612.
 3         15.    Currently, Western Digital is advertising more than 60 jobs in the Irvine
 4   area. These positions include those that relate to the ʼ259 patented technology, such as
 5   positions for a SSD Validation Engineer, Design Verification Engineer, and ASIC
 6   Development Engineer. See Careers at Western Digital, Western Digital
 7   (https://careers.smartrecruiters.com/WesternDigital) (last visited May 27, 2022).
 8   Moreover, on information and belief, Western Digital employs nearly 200 engineers in
 9   the Irvine area. See Search Results for Current Western Digital Employees, LinkedIn
10   (available at https://www.linkedin.com/search/results/people/?currentCompany=
11   %5B%224593%22%5D&geoUrn=%5B%22103575230%22%5D&keywords=wester
12   n%20digital&origin=FACETED_SEARCH&page=13&position=0&searchId=48b477
13   9e-0260-4fdd-a1a0-78d333a8b5fe&sid=q_K&title=engineer) (last visited May 27,
14   2022).
15         16.    Venue is also convenient in this District. This is at least true because of
16   this District’s close ties to this case—including the technology, relevant witnesses, and
17   sources of proof noted above—and its ability to quickly and efficiently move this case
18   to resolution. Further, Western Digital has purposely availed itself of the court system
19   in this District on multiple occasions.
20         17.    On information and belief, Bell Semic’s cause of action arises directly
21   from Western Digital’s circuit design work and other activities in this District.
22   Moreover, on information and belief, Western Digital has derived substantial revenues
23   from its infringing acts occurring within the State of California and within this District.
24                                U.S. PATENT NO. 7,007,259
25         18.    Bell Semic is the owner by assignment of the ’259 patent. The ʼ259 patent
26   is titled “Method for Providing Clock-Net Aware Dummy Metal Using Dummy
27

28
                                                 6
                                        ORIGINAL COMPLAINT
       Case 8:22-cv-01127 Document 1 Filed 06/07/22 Page 8 of 14 Page ID #:8




 1   Regions.” The ʼ259 patent issued on February 28, 2006. A true and correct copy of the
 2   ʼ259 patent is attached as Exhibit A.
 3         19.    The inventors of the ʼ259 patent are Vikram Shrowty and
 4   Santhanakrishnan Raman.
 5         20.    The application that resulted in the issuance of the ’259 patent was filed
 6   on July 31, 2003. The ʼ259 patent claims priority to July 31, 2003.
 7         21.    The ʼ259 patent generally relates to “methods for patterning dummy metal
 8   to achieve planarity for chemical-mechanical polishing of integrated circuits, and more
 9   particularly to a dummy fill software tool that provides clock-net aware dummy metal
10   using dummy regions.” Ex. A at 1:7–11.
11         22.    The background section of the ʼ259 patent identifies the shortcomings of
12   the prior art. More specifically, the specification describes that the prior circuit design
13   methodology was disadvantageous because it was “often impossible to insert enough
14   dummy metal into a tile to meet the required minimum density without reducing the
15   large dummy-to-clock distance.” Ex. A at 2:3–10. Use of this design process meant that
16   a second run of the metal-fill tool was often required in order to meet the density
17   requirements for all of the tiles. Ex. A at 2:10–14. Having to rerun the tool to meet the
18   density requirements made the design process an “involved, iterative process[,]” which
19   could “significantly impact the design schedule.” Ex. A at 2:14–18.
20         23.    In light of the drawbacks of the prior art, the Inventors recognized the need
21   to “minimize[] the negative timing impact of dummy metal on clock nets, while at the
22   same time achieving minimum density in a single run.” Ex. A at 2:19–23. The
23   inventions claimed in the ʼ259 patent addresses this need.
24         24.    The ʼ259 patent contains three independent claims and 37 total claims,
25   covering a method and computer readable medium for circuit design. Claim 1 reads:
26

27

28
                                                 7
                                        ORIGINAL COMPLAINT
       Case 8:22-cv-01127 Document 1 Filed 06/07/22 Page 9 of 14 Page ID #:9




 1                1. A method for inserting dummy metal into a circuit design, the circuit
 2                design including a plurality of objects and clock nets, the method
 3                comprising:
 4                      (a) identifying free spaces on each layer of the circuit design suitable
 5                      for dummy metal insertion as dummy regions, and
 6                      (b) prioritizing the dummy regions such that the dummy regions
 7                      located adjacent to clock nets are filled with dummy metal last,
 8                      thereby minimizing any timing impact on the clock nets.
 9         25.    This claim, as a whole, provides significant benefits and improvements to
10   the function of the semiconductor device, e.g., minimizing the negative timing impact
11   of dummy metal on clock nets while also reducing the opportunity for dishing and
12   erosion that could result in inaccurate transfer of patterns during lithography,
13   suboptimal layouts/designs, inaccurate timing, reduced signal integrity, crosstalk delay,
14   noise issues, increased probability of failure, and ultimately defective or
15   underperforming devices. See, e.g., Ex. A at 6:11–15.
16         26.    The claims of the ’259 patent also recite inventive concepts that improve
17   the functioning of the fabrication process, particularly as to dummy filling. The claims
18   of the ʼ259 patent disclose a new and novel solution to specific problems related to
19   improving semiconductor fabrication. As explained in detail above and in the ʼ259
20   patent specification, the claimed inventions improve upon the prior art processes by
21   prioritizing dummy regions such that the dummy regions located adjacent to clock nets
22   are filled with dummy metal last. This has the advantage of reducing the impact of
23   dummy metal on signal and clock lines and increasing the efficiency, yield, and
24   design/layout miniaturization and flexibility of the manufacturing process. The claimed
25   inventive processes also increase performance and signal integrity, while reducing
26   crosstalk delay, noise issues, probability of failure, and defective and/or
27   underperforming devices.
28
                                                 8
                                       ORIGINAL COMPLAINT
      Case 8:22-cv-01127 Document 1 Filed 06/07/22 Page 10 of 14 Page ID #:10




 1             COUNT I – INFRINGEMENT OF U.S. PATENT NO. 7,007,259
 2           27.   Bell Semic re-alleges and incorporates by reference the allegations of the
 3   foregoing paragraphs as if fully set forth herein.
 4           28.   The ʼ259 patent is valid and enforceable under the United States Patent
 5   Laws.
 6           29.   Bell Semic owns, by assignment, all right, title, and interest in and to the
 7   ʼ259 patent, including the right to collect for past damages.
 8           30.   A copy of the ʼ259 patent is attached at Exhibit A.
 9           31.   On information and belief, Western Digital has and continues to directly
10   infringe pursuant to 35 U.S.C. § 271(a) one or more claims of the ’259 patent by using
11   the patented methodology to design one or more devices, including as one example the
12   WD Black SN 850 NVMe SSD, in the United States.
13           32.   On information and belief, Western Digital employs a variety of design
14   tools, for example, Cadence, Synopsys, and/or Siemens tools, to insert dummy metal
15   into a circuit design (the “Accused Processes”) as recited in the ʼ259 patent claims. As
16   one example, Western Digital’s Accused Processes perform a method for inserting
17   dummy metal into a circuit design, where the circuit design includes a plurality of
18   objects and clock nets as required by claim 1 of the ʼ259 patent. Western Digital does
19   so by employing a design tool, such as at least one of a Cadence, Synopsys, and/or
20   Siemens tool, to insert dummy metal into a circuit design for its WD Black SN 850
21   NVMe SSD. The WD Black SN 850 NVMe SSD’s design include a plurality of objects,
22   such as cells, interconnects, signal nets, and clock nets.
23           33.   Western Digital’s Accused Processes also identify free spaces on each
24   layer of the circuit design suitable for dummy metal insertion as dummy regions.
25   Western Digital does so by employing a design tool, such as at least one of the Cadence,
26   Synopsys, and/or Siemens tools, to identify free spaces on each layer of its WD Black
27

28
                                                 9
                                        ORIGINAL COMPLAINT
      Case 8:22-cv-01127 Document 1 Filed 06/07/22 Page 11 of 14 Page ID #:11




 1   SN 850 NVMe SSD’s circuit designs suitable for dummy metal insertion as dummy
 2   regions.
 3         34.    Western Digital’s Accused Processes also prioritize the dummy regions
 4   such that the dummy regions located adjacent to clock nets are filled with dummy metal
 5   last, thereby minimizing any timing impact on the clock nets. Western Digital does so
 6   by employing a design tool, such as at least one of the Cadence, Synopsys, and/or
 7   Siemens tools, to prioritize dummy regions such that those adjacent to clock nets are
 8   filled with dummy metal last. For example, the Accused Processes assign a “high cost”
 9   to adding metal fill near the clock nets and “lower cost” to adding metal fill near signal,
10   power, and ground nets. Assigning “cost” in this way fills dummy regions adjacent to
11   clock nets last and minimizes any timing impact on the clock nets. An exemplary
12   infringement analysis showing infringement of one or more claims of the ’259 patent
13   is set forth in Exhibit B. The declaration of Lloyd Linder, an expert in the field of
14   semiconductor device design, is attached at Exhibit C and further describes Western
15   Digital’s infringement of the ʼ259 patent.
16         35.    Western Digital’s Accused Processes infringe and continue to infringe one
17   or more claims of the ’259 patent during the pendency of the ’259 patent.
18         36.    On information and belief, Western Digital has and continues to infringe
19   pursuant to 35 U.S.C. § 271, et seq., directly or indirectly, either literally or under the
20   doctrine of equivalents, by using the Accused Processes in violation of one or more
21   claims of the ’259 patent. Western Digital has and continues to infringe pursuant to 35
22   U.S.C. § 271, et seq., directly or indirectly, either literally or under the doctrine of
23   equivalents, by making, selling, or offering to sell in the United States, or importing
24   into the United States products manufactured or otherwise produced using the Accused
25   Processes in violation of one or more claims of the ’259 patent.
26

27

28
                                                  10
                                        ORIGINAL COMPLAINT
      Case 8:22-cv-01127 Document 1 Filed 06/07/22 Page 12 of 14 Page ID #:12




 1         37.    Western Digital’s infringement of the ʼ259 patent is exceptional and
 2   entitles Bell Semic to attorneys’ fees and costs incurred in prosecuting this action under
 3   35 U.S.C. § 285.
 4         38.    Bell Semic has been damaged by Western Digital’s infringement of the
 5   ʼ259 patent and will continue to be damaged unless Western Digital is enjoined by this
 6   Court. Bell Semic has suffered and continues to suffer irreparable injury for which there
 7   is no adequate remedy at law. The balance of hardships favors Bell Semic, and public
 8   interest is not disserved by an injunction.
 9         39.    Bell Semic is entitled to recover from Western Digital all damages that
10   Bell Semic has sustained as a result of Western Digital’s infringement of the ʼ259
11   patent, including without limitation and/or not less than a reasonable royalty.
12                                  PRAYER FOR RELIEF
13         WHEREFORE, Bell Semic respectfully requests that this Court enter judgment
14   in its favor as follows and award Bell Semic the following relief:
15         (a)    a judgment declaring that Western Digital has infringed one or more
16                claims of the ʼ259 patent in this litigation pursuant to 35 U.S.C. § 271, et
17                seq.;
18         (b)    an award of damages adequate to compensate Bell Semic for infringement
19                of the ʼ259 patent by Western Digital, in an amount to be proven at trial,
20                including supplemental post-verdict damages until such time as Western
21                Digital ceases its infringing conduct;
22         (c)    a permanent injunction, pursuant to 35 U.S.C. § 283, prohibiting Western
23                Digital and its officers, directors, employees, agents, consultants,
24                contractors, suppliers, distributors, all affiliated entities, and all others
25                acting in privity with Western Digital, from committing further acts of
26                infringement;
27

28
                                                   11
                                        ORIGINAL COMPLAINT
     Case 8:22-cv-01127 Document 1 Filed 06/07/22 Page 13 of 14 Page ID #:13




 1        (d)   a judgment requiring Western Digital to make an accounting of damages
 2              resulting from Western Digital’s infringement of the ʼ259 patent;
 3        (e)   the costs of this action, as well as attorneys’ fees as provided by 35 U.S.C.
 4              § 285;
 5        (f)   pre-judgment and post-judgment interest at the maximum amount
 6              permitted by law;
 7        (g)   all other relief, in law or equity, to which Bell Semic is entitled.
 8
     Dated: June 8, 2022                By: /s/ Alan P. Block
 9                                      Alan P. Block (SBN 143783)
10                                      ablock@mckoolsmith.com
                                        MCKOOL SMITH P.C.
11                                      300 South Grand Avenue, Suite 2900
                                        Los Angeles, California 90071
12                                      Telephone: (213) 694-1200
                                        Facsimile: (213) 694-1234
13
                                        Timothy Devlin
14                                      DEVLIN LAW FIRM LLC
                                        1526 Gilpin Avenue
15                                      Wilmington, Delaware 19806
16
                                        Telephone: (302) 449–9010
                                        Facsimile: (302) 353–4251
17
                                        Attorneys for Plaintiff Bell Semiconductor, LLC
18

19

20

21

22

23

24

25

26

27

28
                                               12
                                      ORIGINAL COMPLAINT
     Case 8:22-cv-01127 Document 1 Filed 06/07/22 Page 14 of 14 Page ID #:14




1                              DEMAND FOR JURY TRIAL
2         Plaintiff hereby demands a jury trial for all issues so triable.
3

4    Dated: June 8, 2022               By: /s/ Alan P. Block
                                       Alan P. Block (SBN 143783)
5                                      ablock@mckoolsmith.com
                                       MCKOOL SMITH P.C.
6                                      300 South Grand Avenue, Suite 2900
7
                                       Los Angeles, California 90071
                                       Telephone: (213) 694-1200
8                                      Facsimile: (213) 694-1234

9                                      Timothy Devlin
                                       DEVLIN LAW FIRM LLC
10                                     1526 Gilpin Avenue
                                       Wilmington, Delaware 19806
11                                     Telephone: (302) 449–9010
                                       Facsimile: (302) 353–4251
12

13                                     Attorneys for Plaintiff Bell Semiconductor, LLC
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                13
                                      ORIGINAL COMPLAINT
